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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
JOYCE CARRICO, on behalf of herself and                                :
all others similarly situated,                                         : Case No.:
                                                                       :
                               Plaintiff,                              :   CLASS ACTION COMPLAINT
                                                                       :
          v.                                                           :     JURY TRIAL DEMANDED
                                                                       :
MAD SCIENTIST NUTS, INC.,                                              :
                                                                       :
                              Defendant.                               :
                                                                       :
                                                                       :
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       Joyce Carrico (“Plaintiff”) brings this action against Mad Scientist Nuts, Inc.

(“Defendant”) in both an individual capacity and on behalf of others similarly situated, and

she alleges as follows, based on personal knowledge, counsel’s investigation, and

information and belief:

                                 NATURE OF THE ACTION

       1.      Plaintiff is a visually impaired and legally blind person who uses screen-

reading software on her computer to browse and interpret website content. She uses the

terms “blind” or “visually impaired” to refer to all people with visual impairments who

meet the legal definition of blindness in that they have a visual acuity with correction of

less than or equal to 20 x 200. Some blind people who meet this definition have limited

vision; others have no vision.

       2.      In 2017, the Centers for Disease Control (“CDC”) estimated that the blind

population in the United States was approximately 1.7 million people. The American

Foundation for the Blind’s website states that the 2019 American Community Survey



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(conducted by the U.S. Census Bureau) identified an estimated 388,524 New Yorkers with

vision impairment.

       3.      Plaintiff brings this action against Defendant for its failure to design,

construct, maintain, and operate its website to be fully accessible to and independently

usable by Plaintiff and other blind or visually impaired people. Defendant’s denial of full

and equal access to its website and the goods and services offered thereby are violations of

Plaintiff and the Class’ (as defined below) rights under the Americans with Disabilities Act

of 1990, 42 U.S.C. § 12181, et seq. (“ADA”).

       4.      Plaintiff browsed and attempted to transact business on Defendant’s

website, pizootz.com (“Website” or “Defendant’s website”). The reason for Plaintiff’s

visit to the Website was to purchase Trail Mix for her daughter.

       5.      The Website was and remains noncompliant with the ADA accessibility

standards because it presented the following issues, without limitation, both at the time

when Plaintiff browsed it and as of the date of the filing of this Complaint: (i) Plaintiff was

not able to understand product details on the Website; and (ii) the Website contained empty

or otherwise confusing or redundant links.

       6.      In particular, while attempting to navigate the Website, Plaintiff

encountered multiple accessibility barriers for blind or visually impaired people that

include the following, without limitation:

               a. The Website has repetitive graphics together with no differentiation.

                   This impedes Plaintiff’s ability to make an informed decision as a

                   sighted New York consumer.




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               b. The Website has unlabeled graphics. This too impedes Plaintiff’s

                    ability to make an informed decision as a sighted customer would

                    because she is unable to ascertain information about Defendant’s

                    products.

               c. The Website’s write a review space states “2 graphics with sea salt

                    flavor infused and sea salt peanuts with a 16 oz graphic.” This does not

                    allow Plaintiff to write a review as a sighted New York customer would,

                    and it does not allow her to ascertain what the other reviews have stated.

       7.      The issues that Plaintiff experienced when she attempted to transact

business on the Website beginning on or around July 27, 2022, are still found on

Defendant’s Website as of the date of the filing of this Complaint. Plaintiff still has the

intent to purchase Trail Mix for her daughter from Defendant’s Website, but she is

currently unable.

       8.      Plaintiff was highly interested in purchasing the Sea Salt Infused Trail Mix

offered by Defendant. Plaintiff remains hopeful that the accessibility barriers are cured, as

she intends to return to the Website in order to purchase the trail mix from Defendant.

Plaintiff was specifically interested in purchasing this trail mix from Defendant as it is

marketed to contain no artificial colors, flavors, GMO’s, preservatives, trans fat, msg, and

it is a gluten-free snack. Additionally, Defendant states that it donates a portion of all of

its sales to the Multiple Sclerosis Society, which is dedicated to achieving a world free of

MS.

       9.      Upon information and belief, there is a real and immediate threat of future

injury, similar to the past and current injury alleged herein. Plaintiff has been unable to




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purchase it because of the accessibility barriers alleged herein, and she plans to do so once

the accessibility barriers are addressed. The website is merely a click away and is visited

regularly and frequently; but for the accessibility barriers alleged herein, the website will

continue to be visited regularly and frequently by Plaintiff.

       10.     Since Defendant’s Website is and was not equally accessible to Plaintiff and

other visually-disabled consumers as it is and was to non-visually-disabled consumers, the

Website violates the ADA.

       11.     Plaintiff seeks a permanent injunction to cause a change in Defendant’s

corporate policies, practices, and procedures, so that Defendant’s Website will become and

remain accessible to blind and visually impaired consumers. Plaintiff also seeks damages

and other forms of relief.

       12.     Plaintiff’s goal is to have Defendant make reasonable accommodations in

its Website, policies, practices, and procedures; indeed, such accommodations are

attainable through efficient, inexpensive options and features offered for website

development and maintenance that would not cause undue hardships. Quite the opposite:

the reasonable accommodations would enable Defendant to benefit its business by catering

to a materially wider population of demand with blind and visually impaired consumers.

                             JURISDICTION AND VENUE
       13.     This Court has subject-matter jurisdiction over this action under 28 U.S.C.

§ 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42

U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.

       14.     This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over

Plaintiff’s claims under New York City Human Rights Law, N.Y.C. Admin. Code § 8-101,

et seq. (“NYCHRL”).


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       15.     Venue is proper in this District under 28 U.S.C. § 1391(b)(1) & (2) because

Defendant conducts and continues to conduct a substantial and significant amount of

business in this District. A substantial portion of the conduct complained of herein

occurred in this District because Plaintiff attempted to utilize—on a number of occasions—

the subject Website from within this District.

       16.     Defendant is subject to personal jurisdiction in this District. Defendant has

been and is committing the acts or omissions alleged herein in the District that caused

injury and violated rights that the ADA provides to Plaintiff and to other blind or visually-

impaired consumers. A substantial part of the acts and omissions giving rise to Plaintiff’s

claims occurred in this District because Plaintiff has been denied the full use and enjoyment

of the facilities, goods, and services offered to the general public on Defendant’s Website

in New York County. These access barriers denied Plaintiff full and equal access to the

Website on multiple occasions in the past, and these barriers now deter Plaintiff from

accessing the Defendant’s Website in the future.

       17.     This Court is empowered to issue declaratory judgment under 28 U.S.C. §§

2201 and 2202.

                                     THE PARTIES
       18.     Plaintiff is a resident of New York, New York.

       19.     Plaintiff is a blind, visually impaired, and handicapped person and a

member of a protected class of individuals under 42 U.S.C. § 12102(1)-(2) of the ADA, its

regulations at 28 CFR §§ 36.101, et seq., and the NYCHRL.

       20.     Defendant is and was at all relevant times a Virginia Corporation doing

business in New York. Defendant’s Website is a place of public accommodation within the




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definition of 42 U.S.C. § 12181(7). Defendant has a physical address at 3303 Airline 3A

Building, Portsmouth, Virginia.

                  TOOLS FOR WEB CONTENT ACCESSIBILITY
       21.     The Internet has become a significant source of information, a portal, and a

tool for commerce and everyday activities, such as shopping, education, banking, research,

and many other activities for sighted, blind, and visually impaired persons alike.

       22.     In today’s technology-driven world, blind and visually impaired people

have the ability to access websites using keyboards in conjunction with screen-access

software that vocalizes the visual information found on a computer screen. As defined by

the American Federation for the Blind, a refreshable Braille display used in conjunction

with a computer can provide a blind person access to information on the computer screen

by electronically raising and lowering different combinations of pins on internal cells.

These raised pins correspond to and change as the user moves their cursor in the text on

the computer screen. This technology is known as screen-reading software.

       23.     Screen-reading software is currently the only method a blind or visually

impaired person may utilize to independently access the Internet. Unless websites are

designed to be read by screen-reading software, blind and visually impaired persons are

unable to fully access websites, and the information, products, and goods contained thereon

are equally out of reach.

       24.     Blind and visually impaired users of Microsoft Windows-enabled

computers and devices have several screen-reading software programs available to them.

Some of these programs are available for purchase, and other machines have built-in

integrated software.    NonVisual Desktop Access, otherwise known as “NVDA,” is




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currently one of the most popular screen-reading software programs available for personal

computers.

       25.     For screen-reading software to function, the information on a website must

be capable of being rendered into text. If the website content is not capable of being

rendered into text, the blind or visually impaired user is unable to access and interpret the

same content available to sighted users.

       26.     The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.1 of the Web

Content Accessibility Guidelines (“WCAG 2.1”).            WCAG 2.1 are well-established

guidelines for making websites accessible to blind and visually impaired people. These

guidelines are universally followed by most large business entities and government

agencies to ensure that their websites are accessible to all.

       27.     Non-compliant websites pose common access barriers to blind and visually

impaired persons. Common barriers encountered by blind and visually impaired persons

include the following, without limitation:

       a.      A text equivalent for every non-text element is not provided;

       b.      Title frames with text are not provided for identification and navigation;

       c.      Forms with the same information and functionality as for sighted persons

are not provided;

       d.      Information about the meaning and structure of content is not conveyed by

more than the visual presentation of content;

       e.      Web pages do not have titles that describe the topic or purpose; and




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       f.        The purpose of each link cannot be determined from the link text alone or

from the link text and its programmatically determined link context.

                                STATEMENT OF FACTS
                            The Barriers on Defendant’s Website

       28.       Defendant is an artisanal nut selling company that owns and operates the

Website pizootz.com and offers and delivers products throughout the United States,

including, without limitation, in New York State and New York City. Defendant has a

physical address at 3303 Airline 3A Blvd., Portsmouth, Virginia 23701.

       29.       Defendant offers its Website to the public so that the public can transact

business on it (among other things). The goods and services offered by Defendant’s

Website include, without limitation, various flavors of peanuts, almonds, pumpkin seeds,

trail mix, and pecans.

       30.       Upon information and belief, it is Defendant’s policy, practice, and

procedure to deny Plaintiff, along with other blind or visually impaired users, access to its

Website, therefore specifically denying the goods and services that are otherwise offered

to the general public. Due to Defendant’s failure and refusal to remove access barriers to

its Website, Plaintiff and other blind or visually impaired persons have been and continue

to be denied equal access to the goods and services offered to the public on Defendant’s

Website.

       31.       Plaintiff is legally blind and cannot use a computer without the assistance

of screen-reading software. However, Plaintiff is a proficient user of JAWS, a screen-

reader software program used by Plaintiff and other blind and visually impaired persons to

access the Internet. Plaintiff has visited the Website on separate occasions using the JAWS

screen-reader.


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       32.     During Plaintiff’s visit to the Website on July 27, 2022, and September 6,

2022, Plaintiff encountered multiple barriers that denied Plaintiff full and equal access to

the facilities, goods, and services offered and made available to the public, which denied

Plaintiff the full enjoyment of the facilities, goods, and services offered on the Website.

       33.     While attempting to navigate the Website, Plaintiff encountered multiple

accessibility barriers for blind or visually impaired people that include the following,

without limitation:

               a. The Website has repetitive graphics together with no differentiation.

                      This impedes Plaintiff’s ability to make an informed decision as a

                      sighted New York consumer.

               b. The Website has unlabeled graphics. This too impedes Plaintiff’s ability

                      to make an informed decision as a sighted New York customer would

                      because she is unable to ascertain     information about Defendant’s

                      products.

               c. The Website’s write a review space states “2 graphics with sea salt

                      flavor infused and sea salt peanuts with a 16 oz graphic.” This does not

                      allow Plaintiff to write a review as a sighted New York customer would.

       34.     Plaintiff was highly interested in purchasing the Sea Salt Flavor Infused

Trail Mix offered by Defendant. Plaintiff remains hopeful that the accessibility barriers

are cured, as she intends to return to the Website in order to purchase premium artisan nut

snacks from Defendant as soon as the accessibility barriers are cured.

       35.     Upon information and belief, there is a real and immediate threat of future

injury, similar to the past and current injury alleged herein. Plaintiff has been unable to




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purchase products because of the accessibility barriers alleged herein, and she plans to do

so once the accessibility barriers are addressed. The website is merely a click away and is

visited regularly and frequently; but for the accessibility barriers alleged herein, the website

will continue to be visited regularly and frequently by Plaintiff.

                     Defendant Must Remove Barriers To Its Website

          36.   Due to the inaccessibility of Defendant’s Website, blind or visually

impaired consumers such as Plaintiff, who need screen-readers, cannot fully and equally

use or enjoy the facilities, products, and services that Defendant offers to the public on its

Website. The access barriers that Plaintiff encountered have caused a denial of Plaintiff’s

full and equal access in the past, and these access barriers now deter Plaintiff on a regular

basis from visiting the Website, presently and in the future.

          37.   These access barriers on Defendant’s Website have deterred Plaintiff from

learning about the various premium artisanal nut snacks offered for purchase and delivery

and enjoying them equally to sighted individuals because Plaintiff was unable to determine

information concerning such items and/or purchase items from the Website, among other

things.

          38.   If the Website was equally accessible to all, Plaintiff could independently

navigate the Website and complete a desired transaction as sighted individuals are able to

do.

          39.   Through her attempts to use the Website, Plaintiff has actual knowledge of

the access barriers that make these services inaccessible and independently unusable by

blind and visually impaired people.




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       40.       Because simple compliance with the WCAG 2.1 guidelines would provide

Plaintiff and other visually impaired consumers with equal access to the Website, Plaintiff

alleges that Defendant has engaged in acts of intentional discrimination, including the

following policies or practices, without limitation:

       a.        Constructing and maintaining a website that is inaccessible to

       Blind or visually impaired individuals, including Plaintiff;

       b.        Failure to construct and maintain a website that is sufficiently intuitive,

       so as to be equally accessible to blind or visually impaired individuals, including

Plaintiff; and

       c.        Failing to take actions to correct these access barriers in the face of

       substantial harm and discrimination to blind or visually impaired consumers, such

as Plaintiff, as a member of a protected class.

       41.       Defendant therefore uses standards, criteria, or methods of administration

that have the effect of discriminating or perpetuating the discrimination of Plaintiff and

others similarly situated, as alleged herein.

       42.       The ADA expressly contemplates the injunctive relief that Plaintiff seeks in

this action. In relevant part, the ADA requires:

       In the case of violations of . . . this title, injunctive relief shall include an
       order to alter facilities to make such facilities readily accessible to and
       usable by individuals with disabilities . . . Where appropriate, injunctive
       relief shall also include requiring the . . . modification of a policy[.] 42
       U.S.C. § 12188(a)(2).

       43.       Because the Website has not been equally accessible and because Defendant

does not have, and has not had, an adequate corporate policy that is reasonably calculated

to cause its Website to become and remain accessible, Plaintiff invokes 42 U.S.C. §




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12188(a)(2) and seeks a permanent injunction requiring Defendant to retain a qualified

consultant acceptable to Plaintiff and Defendant (“Agreed Upon Consultant”) to assist

Defendant to comply with WCAG 2.1 guidelines for Defendant’s Website. Plaintiff seeks

that this permanent injunction would require Defendant to cooperate with the Agreed Upon

Consultant to do the following:

       a.     Train Defendant’s employees and agents who develop the Website

       on accessibility compliance under the WCAG 2.1 guidelines;

       b.     Regularly check the accessibility of the Website under the WCAG

       2.1 guidelines;

       c.     Regularly test user accessibility by blind or vision impaired persons

       to ensure that Defendant’s Website complies under the WCAG 2.1 guidelines; and

       d.     Develop an accessibility policy that is clearly disclosed on Defendant’s

       Websites, with contact information for users to report accessibility-related

problems.

       44.    If the Website was accessible, Plaintiff and similarly situated blind and

visually impaired people could independently view service items and shop for and

otherwise research related goods and services available through the Website. Although

Defendant may currently have policies in place regarding the maintenance and operation

of its Website, Defendant lacks a plan and policy reasonably calculated to make the

Website fully and equally accessible to, and independently usable by, blind and visually

impaired consumers.

       45.    Upon information and belief, Defendant has invested substantial sums in

developing and maintaining the Website and has generated significant revenue from the




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Website. These amounts are far greater than the associated cost of making the Website

equally accessible to visually impaired customers. Making the Website equally accessible

would be attainable through efficient, inexpensive options and features offered for website

development and maintenance that would not cause undue hardships. Quite the opposite:

the reasonable accommodations would enable Defendant to benefit its business by catering

to a materially wider population of demand with blind and visually impaired consumers.

       46.     Without injunctive relief, Plaintiff and other visually impaired consumers

will continue to be unable to independently use the Website, thus violating their rights.

                           CLASS ACTION ALLEGATIONS
       47.     Plaintiff, on behalf of herself and all others similarly situated, seeks to

certify a nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2) that includes all legally

blind individuals in the United States who have attempted to access Defendant’s Website

and as a result, have been denied access to the equal enjoyment of goods and services

during the relevant statutory period (“Class”).

       48.     Plaintiff, on behalf of herself and all others similarly situated, seeks to

certify a New York City subclass (“Sub-Class”) that includes all legally blind individuals

in New York City who have attempted to access Defendant’s Website and as a result, have

been denied access to the equal enjoyment of goods and services during the relevant

statutory period.

       49.     Common questions of law and fact exist amongst the Classes, including the

following, without limitation:

       a.      Whether Defendant’s Website is a “public accommodation” under

       the ADA;

       b.      Whether Defendant’s Website is a “place or provider of public


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       accommodation” under the NYCHRL;

       c.      Whether Defendant’s Website denies the full and equal enjoyment

       of its products, services, facilities, privileges, advantages, or accommodations to

people with visual disabilities, violating the ADA; and

       d.      Whether Defendant’s Website denies the full and equal enjoyment

       of its products, services, facilities, privileges, advantages, or accommodations to

people with visual disabilities, violating the NYCHRL.

       50.     Plaintiff’s claims are typical of the Class and Sub-Class. Similar to the

Plaintiff, the Class and Sub-Class comprise persons who are severely visually impaired or

otherwise blind, who will claim that Defendant has violated the ADA or NYCHRL by

failing to update or remove access barriers on its Website, so that it can be independently

accessible to the Class and Sub-Class.

       51.     Plaintiff will fairly and adequately represent and protect the interests of the

Class and Sub-Class because Plaintiff has retained and is represented by counsel competent

and experienced in complex class action litigation and because Plaintiff has no interests

antagonistic to the Class and Sub-Class. Class certification of the claims is appropriate

under Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused to act on grounds

generally applicable to the Class, making appropriate both declaratory and injunctive relief

with respect to Plaintiff and the Class as a whole.

       52.     Alternatively, class certification is appropriate under Fed. R. Civ. P.

23(b)(3) because fact and legal questions common to Class members predominate over

questions affecting only individual Class members and because a class action is superior

to other available methods for the fair and efficient adjudication of this litigation.




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       53.     Judicial economy will be served by maintaining this lawsuit as a class action

in that it is likely to avoid the burden that would be otherwise placed upon the judicial

system by the filing of numerous similar suits by people with visual disabilities throughout

the United States.

                           FIRST CAUSE OF ACTION
                  VIOLATIONS OF THE ADA, 42 U.S.C. § 12181, ET SEQ.
       54.      Plaintiff, on behalf of herself and the Class, repeats and realleges every

allegation of the preceding paragraphs as if fully set forth herein.

       55.     Section 302(a) of Title III of the ADA provides:

       No individual shall be discriminated against on the basis of disability in the
       full and equal enjoyment of the goods, services, facilities, privileges,
       advantages, or accommodations of any place of public accommodation by
       any person who owns, leases (or leases to), or operates a place of public
       accommodation. 42 U.S.C. § 12182(a).

       56.     Defendant’s Website is a “public accommodation” within the definition of

Title III of the ADA, 42 U.S.C. § 12181(7). The Website is a service that is offered to the

general public and as such, must be equally accessible to all potential consumers.

       57.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful

discrimination to deny individuals with disabilities the opportunity to participate in or

benefit from the products, services, facilities, privileges, advantages, or accommodations

offered by an entity. 42 U.S.C. § 12182(b)(1)(A)(i).

       58.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful

discrimination to deny individuals with disabilities an opportunity to participate in or

benefit from the products, services, facilities, privileges, advantages, or accommodation,

which is equal to the opportunities afforded to other individuals.            42 U.S.C. §

12182(b)(1)(A)(ii).



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       59.     Under Section 302(b)(2)(A) of Title III of the ADA, unlawful

discrimination also includes the following, among other things:

       [A] failure to make reasonable modifications in policies, practices, or
       procedures, when such modifications are necessary to afford such goods,
       services, facilities, privileges, advantages, or accommodations to
       individuals with disabilities, unless the entity can demonstrate that making
       such modifications would fundamentally alter the nature of such goods,
       services, facilities, privileges, advantages, or accommodations; … a failure
       to take such steps as may be necessary to ensure that no individual with a
       disability is excluded, denied services, segregated or otherwise treated
       differently than other individuals because of the absence of auxiliary aids
       and services, unless the entity can demonstrate that taking such steps would
       fundamentally alter the nature of the good, service, facility, privilege,
       advantage, or accommodation being offered or would result in an undue
       burden[.] 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

       60.     The acts alleged herein constitute violations of Title III of the ADA and the

regulations promulgated thereunder. Plaintiff, who is a member of a protected class of

persons under the ADA, has a physical disability that substantially limits the major life

activity of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore,

Plaintiff has been denied full and equal access to the Website, has not been provided

services that are supplied to other patrons who are not disabled, and has been offered

services that are inferior to the services provided to non-disabled persons. Defendant has

failed to take any prompt and equitable steps to remedy its discriminatory conduct. The

foregoing violations are ongoing.

       61.     Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth

and incorporated therein, Plaintiff requests relief as set forth below.

                             SECOND CAUSE OF ACTION
                              VIOLATIONS OF THE NYCHRL
       62.     Plaintiff, on behalf of herself and the New York City Sub-Class members,

repeats and realleges allegations 1 through 53, as if fully set forth herein.



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       63.     N.Y.C. Administrative Code § 8-107(4)(a) provides that:

       It shall be an unlawful discriminatory practice for any person, being the
       owner, lessee, proprietor, manager, superintendent, agent or employee of
       any place or provider of public accommodation, because of . . . disability .
       . . directly or indirectly, to refuse, withhold from or deny to such person,
       any of the accommodations, advantages, facilities or privileges thereof.

       64.     Defendant’s Website is a sales establishment and public accommodation

within the definition of N.Y.C. Admin. Code § 8-102(9).

       65.     Defendant is subject to NYCHRL because it owns and operates its Website

and offers goods and services to residents of New York City, thereby making it a person

within the meaning of N.Y.C. Admin. Code § 8-102(1).

       66.     Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in

refusing to update or remove access barriers to Website, causing its Website and the

services integrated with such Website to be completely inaccessible to blind persons

residing in New York City. This inaccessibility denies blind patrons residing in New York

City the full and equal access to the facilities, products, and services that Defendant makes

available to the non-disabled public.

       67.     Defendant is required to “make reasonable accommodation to the needs of

persons with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.]

from discriminating on the basis of disability shall make reasonable accommodation to

enable a person with a disability to . . . enjoy the right or rights in question provided that

the disability is known or should have been known by the covered entity.” N.Y.C. Admin.

Code § 8-107(15)(a).




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       68.     Defendant’s actions constitute willful and intentional discrimination against

the Sub-Class on the basis of a disability in violation of the N.Y.C. Administrative Code §

8-107(4)(a) and § 8-107(15)(a) in that Defendant has done the following:

       a.      constructed and maintained a website that is inaccessible to blind

       Sub-Class members with knowledge of the discrimination;

       b.      constructed and maintained a website that is insufficiently intuitive

       and/or obvious that is inaccessible to blind Sub-Class members; and/or

       c.      failed to take actions to correct these access barriers in the face of

       substantial harm and discrimination to blind Sub-Class members.

       69.     Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These foregoing violations are ongoing.

       70.     As such, Defendant through its Website discriminates and will continue in

the future to discriminate against Plaintiff and members of the proposed Class and Sub-

Class on the basis of disability in the full and equal enjoyment of the products, services,

facilities, privileges, advantages, accommodations, and/or opportunities of its Website

under § 8-107(4)(a) and/or its implementing regulations.          Unless the Court enjoins

Defendant from continuing to engage in these unlawful practices, Plaintiff and the Class

and Sub-Class members will continue to suffer irreparable harm.

       71.     Defendant’s actions were and are in violation of the NYCHRL, and

therefore Plaintiff invokes her right to injunctive relief to remedy the discrimination.

       72.     Plaintiff is also entitled to compensatory damages and civil penalties and

fines under N.Y.C. Administrative Code §§ 8-120(8), 8-126(a), for each offense, as well

as punitive damages pursuant to § 8-502.




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       73.     Plaintiff is also entitled to reasonable attorneys’ fees and costs.

       74.     Under N.Y.C. Administrative Code §§ 8-120, 8-126 and the remedies,

procedures, and rights set forth and incorporated therein, Plaintiff prays for judgment as

set forth below.

                               THIRD CAUSE OF ACTION
                                 DECLARATORY RELIEF
       75.     Plaintiff, on behalf of herself and the Class and Sub-Class members, repeats

and realleges every allegation of the preceding paragraphs as if fully set forth herein.

       76.     An actual controversy has arisen and now exists between the parties in that

Plaintiff contends, and upon information and belief that Defendant denies, that its Website

contains access barriers denying visually impaired and blind consumers the full and equal

access to the products, services, and facilities offered on the Website, which Defendant

owns, operates, and controls, and which fails to comply with applicable laws including,

without limitation, Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et

seq., and N.Y.C. Admin. Code § 8-107, et seq., prohibiting discrimination against the

visually impaired and blind.

       77.     A judicial declaration is necessary and appropriate at this time in order that

each of the parties may know their respective rights and duties and act accordingly.

                                 PRAYER FOR RELIEF
       WHEREFORE, Plaintiff respectfully requests this Court grant the following relief:

       a.      A preliminary and permanent injunction to prohibit Defendant from

violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y.C.

Administrative Code §§ 8-107, et seq., and the laws of New York;

       b.      A preliminary and permanent injunction requiring Defendant to take




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all the steps necessary to ensure that its Website is in full compliance with the requirements

set forth in the ADA and its implementing regulations, so that the Website is readily

accessible to and usable by visually impaired and blind individuals;

       c.      A declaration that Defendant owns, maintains, and/or operates its

Website in a manner that discriminates against the visually impaired and blind individuals

and which fails to provide access for persons with disabilities as required by Americans

with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y.C. Administrative Code §§ 8-107,

et seq., and the laws of New York;

       d.      An order certifying the Class and Sub-Class under Fed. R. Civ. P.

23(a), (b)(2), and/or (b)(3), appointing Plaintiff as Class Representative, and her counsel

as Class Counsel;

       e.      Compensatory damages in an amount to be determined by proof,

including all applicable statutory and punitive damages and fines, to Plaintiff and the

proposed Class and Sub-Class for violations of their civil rights under NYCHRL;

       f.      Pre- and post-judgment interest;

       g.      An award of costs and expenses of this action together with

       reasonable attorneys’ and expert fees; and

       h.      Such other and further relief as this Court deems just and proper.




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                         DEMAND FOR TRIAL BY JURY
      Plaintiff demands a trial by jury.

DATED: September 24, 2022


                                                          /s/ Justin S. Nematzadeh


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